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                            UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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       SECURITIES AND EXCHANGE                  Case No. LA CV13-7553-JAK(SSx)
12     COMMISSION,
13                                              FINAL JUDGMENT AS TO
                   Plaintiff,
                                                VELOCITY INVESTMENT
14           vs.                                GROUP, INC.; BIO PROFIT
15                                              SERIES I, LLC; BIO PROFIT
       YIN NAN “MICHAEL” WANG,
       WENDY KO, VELOCITY                       SERIES II, LLC; BIO PROFIT
16     INVESTMENT GROUP, INC., BIO              SERIES III, LLC; BIO PROFIT
       PROFIT SERIES I, LLC, BIO                SERIES V, LLC; ROCKWELL
17     PROFIT SERIES II, LLC, BIO
       PROFIT SERIES III, LLC, BIO              REALTY MANAGEMENT, INC.
18     PROFIT SERIES V, LLC, and
       ROCKWELL REALTY                          JS-6
19     MANAGEMENT, INC.,
20                 Defendants.
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1           The Securities and Exchange Commission having filed a Complaint and
2     Velocity Investment Group, Inc., Bio Profit Series I, LLC, Bio Profit Series, II, LLC,
3     Bio Profit Series III, LLC, Bio Profit Series V, LLC, and Rockwell Realty
4     Management, Inc. (collectively, “Defendants”) having entered a general appearance;
5     consented to the Court’s jurisdiction over Defendants and the subject matter of this
6     action; consented to entry of this Final Judgment without admitting or denying the
7     allegations of the Complaint (except as to jurisdiction and except as otherwise
8     provided herein in paragraph III); waived findings of fact and conclusions of law; and
9     waived any right to appeal from this Judgment:
10                                               I.
11          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendants
12    and Defendants’ agents, servants, employees, attorneys, and all persons in active
13    concert or participation with them who receive actual notice of this Final Judgment
14    by personal service or otherwise are permanently restrained and enjoined from
15    violating, directly or indirectly, Section 10(b) of the Securities Exchange Act of 1934
16    (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5 promulgated thereunder
17    [17 C.F.R. § 240.10b-5], by using any means or instrumentality of interstate
18    commerce, or of the mails, or of any facility of any national securities exchange, in
19    connection with the purchase or sale of any security:
20          (a)    to employ any device, scheme, or artifice to defraud;
21          (b)    to make any untrue statement of a material fact or to omit to state a
22                 material fact necessary in order to make the statements made, in the light
23                 of the circumstances under which they were made, not misleading; or
24           (c)   to engage in any act, practice, or course of business which operates or
25                 would operate as a fraud or deceit upon any person.
26                                              II.
27          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
28    Defendants and Defendants’ agents, servants, employees, attorneys, and all persons in
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1     active concert or participation with them who receive actual notice of this Final
2     Judgment by personal service or otherwise are permanently restrained and enjoined
3     from violating Section 17(a) of the Securities Act of 1933 (the “Securities Act”) [15
4     U.S.C. § 77q(a)] in the offer or sale of any security by the use of any means or
5     instruments of transportation or communication in interstate commerce or by use of
6     the mails, directly or indirectly:
7           (a)    to employ any device, scheme, or artifice to defraud;
8           (b)    to obtain money or property by means of any untrue statement of a
9                  material fact or any omission of a material fact necessary in order to
10                 make the statements made, in light of the circumstances under which
11                 they were made, not misleading; or
12          (c)    to engage in any transaction, practice, or course of business which
13                 operates or would operate as a fraud or deceit upon the purchaser.
14                                               III.
15          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for
16    purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy Code,
17    11 U.S.C. §523, the allegations in the complaint are true and admitted by Defendants,
18    and further, any debt for disgorgement, prejudgment interest, civil penalty or other
19    amounts due by Defendants under this Judgment or any other judgment, order,
20    consent order, decree or settlement agreement entered in connection with this
21    proceeding, is a debt for the violation by Defendants of the federal securities laws or
22    any regulation or order issued under such laws, as set forth in Section 523(a)(19) of
23    the Bankruptcy Code, 11 U.S.C. §523(a)(19).
24                                               IV.
25          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court
26    shall retain jurisdiction of this matter for the purposes of enforcing the terms of this
27    Judgment.
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1                                              V.
2           There being no just reason for delay, pursuant to Rule 54(b) of the Federal
3     Rules of Civil Procedure, the Clerk is ordered to enter this Judgment forthwith and
4     without further notice.
5     IT IS SO ORDERED.
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      Dated: April 10, 2018
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8                                           ____________________________________
                                            JOHN A. KRONSTADT
9                                           UNITED STATES DISTRICT JUDGE

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